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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINGS DIVISION

JAIME GLENN FINLEY,
a/k/a Possum                                                                       PLAINTIFF


v.                                 Case No. 6:24-cv-06057


SHERIFF MIKE MCCORMICK,
Garland County, et. al.                                                         DEFENDANTS
                                           ORDER

       Before the Court is a Report and Recommendation filed November 15, 2024, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

(ECF No. 19). Judge Bryant recommends that Plaintiff’s Complaint (ECF No. 2) be dismissed

without prejudice.

       Plaintiff has not responded to the Report and Recommendation, and the time to do so has

passed. See 28 U.S.C. § 636(b)(1). Upon review, finding no clear error on the face of the record

and that Judge Bryant’s reasoning is sound, the Court adopts the Report and Recommendation

(ECF No. 19) in toto. Accordingly, Plaintiff’s Complaint (ECF No. 2) is hereby DISMISSED

WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 10th day of January, 2025.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           Chief United States District Judge
